              Case 2:24-cr-00105-WBV-JVM             Document 298-6          Filed 05/19/25       Page 1 of 2

    From:             <     @                >
       To:                  <       @kinginjuryfirm.com>
  Subject: Re: Parker v. USX - expert report
     Date: Thu, 22 Nov 2018 03:38:35 +0000


Frey’s report does nothing but regurgitate facts and opinions of the plaintiffs and other experts. It does not assist
the trier of fact - red flags are red flags to anyone so don’t need an expert. I think you can get him limited or
tossed.


Partner


New Orleans, LA
             (Phone)
             (Fax)



On Nov 21, 2018, at 8:27 PM,                          <        @kinginjuryfirm.com> wrote:


Some of your cases are listed in this report so I figured I would share.


Cell:
Sent from my iPhone

The King Firm
2912 Canal Street
New Orleans, LA 70119
Fax: 800-901-6470
Main: 504-909-5464 (KING)


Begin forwarded message:


 From:                <       @gallowaylawfirm.com>
 Date: November 21, 2018 at 3:06:43 PM CST
 To:        @kinginjuryfirm.com"        @kinginjuryfirm.com>
                                                                                                       GOVERNMENT
 Cc:                <          @gallowaylawfirm.com>                                                     EXHIBIT
 Subject: Parker v. USX - expert report
                                                                                                             D
          -

 Please see attached expert reports for Louis Fey and supplement for               . I believe I previously provided Dr.
          's 2nd IME report, but I attach again for your convenience. We do not have supplements, at this time, to the
 expert reports we sent last year(i.e. Partington, Stokes & Assoc, Boudreaux). Should we need to supplement due to




                                                                                                           US-072-00249108
        Case 2:24-cr-00105-WBV-JVM               Document 298-6         Filed 05/19/25       Page 2 of 2
additional information, we will do that as soon as possible. Please let me know if you need me to re-send those
prior reports.

Thank you and I hope you have a Happy Thanksgiving-



                    Director
#3 Sanctuary Boulevard, 3rd Floor
Mandeville, Louisiana 70471
O:                | F: 985-674-6681
      @gallowaylawfirm.com

701 Poydras St., 40th Floor, New Orleans, LA 70139


<mime-attachment.html>

<Galloway2_02f3b712-1b21-4b17-81de-961e4e4d7977.png>

<EXPERT REPORT - Harris v U.S. Express.pdf>

<mime-attachment.html>

<Expert CV (Testimony Only) - September 2018.pdf>

<mime-attachment.html>

<Dr. Butler 2nd IME Report (09643392xA8A8F).pdf>

<mime-attachment.html>

<11-14-18 SEA, Ltd. Report (10118383xA8A8F).pdf>

<mime-attachment.html>




                                                                                                     US-072-00249109
